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16

17                           UNITED STATES DISTRICT COURT
18             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
19     CHANSUE KANG, an individual, and              Case No.: 5:19-cv-02252-PA-SP
       on behalf of other members of the
20     general public similarly situated,            STIPULATION AND REQUEST
                                                     FOR VOLUNTARY DISMISSAL
21                     Plaintiff,                    OF ACTION
22              v.                                   Action Filed:   November 25, 2019
                                                     Judge:          Hon. Percy Anderson
23     P.F. CHANG'S CHINA BISTRO, INC.               Courtroom:      9A
       an Arizona corporation; and DOES 1-
24     100, inclusive,
25                     Defendants.
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        STIPULATION AND REQUEST FOR VOLUNTARY DISMISSAL OF ACTION                Case No.
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           1          Plaintiff Chansue Kang ("Plaintiff' or "Kang") and Defendant P .F. Chang's, a
           2   Delaware corporation ("P.F. Chang's"), erroneously sued as P.F. CHANG's CHINA
           3   BISTRO, INC., an Arizona corporation, by and through their respective counsels of
           4   record, hereby respectfully submit this Stipulation in accordance with Federal Rules of
           5   Civil Procedure 41(a) and 23:
           6                                                  RECITALS
           7          A.      On April 29, 2019, P.F. Chang's received a demand letter from Kang (on
           8   behalf of himself and all other similarly situated consumers) pursuant to California Civil
           9   Code § 1782 alleging violations of California Consumers Legal Remedies Act, Cal. Civ.
          10   Code § 1750, et. seq. ("CLRA"), misrepresentations, false advertising and violations of
          11   Section 17200 of the California Business & Professions Code ("UCL") ("Kang Demand
          12   Letter").
          13           B.     On October 23, 2019, Kang filed a civil class action lawsuit against P .F.
          14   Chang's on behalf of himself and all other similarly situated customers of P.F. Chang's
          15   in the Superior Court of California, County of San Bernardino, Case No. CIVDS 193220
          16   ("Lawsuit") alleging the following causes of action: Violation of Business and
          17   Professions code § 17200, et, seq.; Violation of Business and Professions Code § 17500,
          18   et seq.; Violation of California Civil Code § 1750, et seq.; and Breach of Express
          19 Warranty.
          20          C.      On October 24, 2019, Kang filed a First Amended Class Action Complaint
          21   ( the "Operative Complaint").

          22          D.      On November 25, 2019, P.F. Chang's filed a Notice of Removal Civil Action
          23   to the United States District Court for the Central District of California, and the Lawsuit
          24   was thereafter removed to the United States District Court of the Central District of
         25    California, Case No. 5: 19-cv-02252.
         26           E.      After removal, P.F. Chang's filed a motion to dismiss the Operative
          27 Complaint and Lawsuit pursuant to Federal Rule of Civil Procedures 12(b)(l) and
          28   12(b)(6).
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            1           F.       On January 10, 2020, the Hon. Percy Anderson sustained P.F. Chang's
            2   motion to dismiss under F.R.C.P. 12(b)(l) and 12(b)(6) and dismissed all claims asserted
            3   by Kang and the Lawsuit with prejudice.
            4           G.       On February 7, 2020, Kang filed a notice of appeal of a portion of the ruling
            5   on P.F. Chang's motion to dismiss under F.R.C.P. 12(b)(6). Kang's appeal did not
            6   concern Judge Anderson's dismissal of Kang' s claims for violations of consumer fraud
            7 and deceptive trade practices in states other than the State of California.

            8           H.       On      February 9, 2021, the Ninth Circuit Court of Appeal issued a
            9   Memorandum on Kang's appeal, reversing and remanding Judge Anderson's January 10,
          10    2020 ruling under F.R.C.P. 12(b)(6).
          11            I.       After remand, on March 24, 2021, P.F. Chang's filed an Answer to the
          12    Operative Complaint.
          13            J.       A class has not been certified. The deadline to file a motion to certify a class
          14    in the Lawsuit was July 5, 2021.
          15            K.       On July 12, 2021, the Court entered an order striking the class allegations in
          16    the Operative Complaint [Docket No. 39].
          17            L.       Trial is currently set to commence on February 22, 2022.
          18            M.       No parties other than Kang and P.F. Chang's have appeared in this action.
          19            N.       After conducting written discovery and investigating the claims and defenses
          20    asserted in the Lawsuit, Kang now wishes and respectfully requests to dismiss the Lawsuit
          21    and Operative Complaint with prejudice.
          22            0.       Under Rule 4l(a)(l)(A)(ii), a plaintiff may voluntarily dismiss an action
          23    without a court order by filing "a stipulation of dismissal signed by all parties who have
          24    appeared." (Fed. R. Civ. P. 41(a)(l)(A)(ii).)
          25                                                  STIPULATION
          26            Now      THEREFORE,         the parties, by and through their counsel of record, hereby
          27    stipulate and respectfully request the court to dismiss the Lawsuit and Operative
          28    Complaint, as follows:
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                   STIPULATION AND REQUEST FOR VO LUNTARY DISMISSAL OF ACTION                      Case No.
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           1          1.      Plaintiff agrees to voluntarily dismiss the Lawsuit and Operative Complaint
          2    with prejudice.
          3           2.      Kang and P.F. Chang's shall each bear his/its own costs and attorneys' fees
          4    arising out of or related to the Lawsuit and the appeal thereof.
           5          3.      This Stipulation may be executed in two or more counterparts, each of which
          6    shall be deemed an original, but all of which together shall constitute one and the same
          7    instrument. Counterparts may be delivered via electronic mail (provided that any
           8 electronic signature complies with the U.S. federal ESIGN Act of 2000, Uniform
          9    Electronic Transactions Act or other applicable law), and any counterpart so delivered
         10 shall be deemed to have been duly and validly delivered and be valid and effective for all
         11    purposes.
         12           IT IS SO STIPULATED.
         13 Dated:                                         YOON LAW, APC
         14
                                                           By: K.....,_e_nn_e_t_h__R. . . """"'......Yo_o_n_ _ _ _ _ _ _ _ __
         15
                                                                Attorneys for Plaintiff Chansue Kang
         16
                                                           LIM LAW GROUP, P.C.
         17
         18                                                By: --P-re-s-to-n"""""L_1_m_ _ _ _ _ _ _ _ _ _ __
         19                                                     Attorneys for Plaintiff Chansue Kang
         20
         21                                                By: _ _:;TA.~~~~~~=-------
                                                              Jong   n
         22                                                   Atto eys for Plaintiff Chansue Kang
         23 Dated:                                         MURPHY, PEARSON, BRADLEY & FEENEY
         24
                                                           By:J-am-es__
                                                                      M.,...u-~-h-ly_ _ _ _ _ _ _ _ _ __
         25
                                                               Patrick WiQgfield
         26                                                    Patrick A. GillesP-ie
                                                               Attorn~ys for Defendant
         27                                                    P.F. CHANG'S CHINA BISTRO, INC.
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                         1.      Plaintiff agrees to voluntarily dismiss the Lawsuit and Operative Complaint
            2   with prejudice.
            3            2.      Kang and P .F. Chang's shall each bear his/its own costs and attorneys' fees
            4   arising out of or related to the Lawsuit and the appeal thereof.
            5            3.      This Stipulation may be executed in two or more counterparts, each of which
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            9   Electronic Transactions Act or other applicable law), and any counterpart so delivered
           1O shall be deemed to have been duly and validly delivered and be valid and effective for all

           11   purposes.
           12            IT IS SO STIPULATED.
           13   Dated:                                        YOON LAW, APC
           14
           15
           16
                                                              By:Ke°'~
                                                                  Attorney     r Plaintiff Chansue Kang

           17
           18                                                 By: _____,.._.,.....,,...._ _ _ _ _ _ _ _ _ _ __
           19                                                     Attorneys for Plaintiff Chansue Kang
          20                                                  LAW OFFICES OF JONG YUN KIM
          21                                                  By:-~~~~-----------
                                                               Jong Yun Kim
          22                                                   Attorneys for Plaintiff Chansue Kang
          23 Dated:                                           MURPHY, PEARSON, BRADLEY & FEENEY
          24
                                                              By:J-am_e_s.M..,...u-q,--.-h_y
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          25
                                                                 Patrick Wingfield
          26                                                     Patrick A. Gilles2ie
                                                                 Attorneys for Defendant
          27                                                     P .F. CHANG'S CHINA BISTRO, INC.
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            1           1.       Plaintiff agrees to voluntarily dismiss the Lawsuit and Operative Complaint
            2 with prejudice.

            3           2.       Kang and P.F. Chang’s shall each bear his/its own costs and attorneys’ fees
            4 arising out of or related to the Lawsuit and the appeal thereof.

            5           3.       This Stipulation may be executed in two or more counterparts, each of which
            6 shall be deemed an original, but all of which together shall constitute one and the same

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            9 Electronic Transactions Act or other applicable law), and any counterpart so delivered

          10 shall be deemed to have been duly and validly delivered and be valid and effective for all

          11 purposes.

          12            IT IS SO STIPULATED.
          13 Dated:                                          YOON LAW, APC
          14
                                                             By:
          15                                                       Kenneth H. Yoon
                                                                   Attorneys for Plaintiff Chansue Kang
          16
                                                             LIM LAW GROUP, P.C.
          17

          18                                                 By:
                                                                   Preston Lim
          19                                                       Attorneys for Plaintiff Chansue Kang
          20                                                 LAW OFFICES OF JONG YUN KIM
          21                                                 By:
                                                               Jong Yun Kim
          22                                                   Attorneys for Plaintiff Chansue Kang
          23 Dated:                                          MURPHY, PEARSON, BRADLEY & FEENEY
          24
                                                                   ~   Docus;gned by,


                                                             By: pmi& UJi~JJ
          25                                                    James Murphy
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                                                                Patrick Wingfield
          26                                                    Patrick A. Gillespie
                                                                Attorneys for Defendant
          27                                                    P.F. CHANG'S CHINA BISTRO, INC.
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